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4                         UNITED STATES DISTRICT COURT

5                        EASTERN DISTRICT OF CALIFORNIA

6

7    UNITED STATES OF AMERICA,            No.    2:11-cr-00458-GEB
8                   Plaintiff,
9          v.                             PROPOSED TRIAL DOCUMENTS
10   BUENA MARSHALL, and DEBORAH
     LOUDERMILK,
11
                    Defendants.
12

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14               Attached are the Court’s proposed voir dire questions

15   and   preliminary   jury    instructions.   Any   proposed   modifications

16   should be submitted as soon as practicable.

17   Dated:     February 27, 2015

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                     UNITED STATES DISTRICT COURT

                    EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA,            No. 2:11-cr-00458-GEB

               Plaintiff,

     v.                              VOIR DIRE
BUENA MARSHALL, and DEBORAH
LOUDERMILK,


               Defendants.




             Good morning and welcome to the United States District

Court. Thank you for your presence and anticipated cooperation

in the jury selection questioning process we are about to begin.

You are performing an important function in our legal system.

             The court personnel who will assist me in this trial

are on the platform below me. The Courtroom Deputy is Shani

Furstenau. Next to her is the Certified Court Reporter.

             We are about to begin what is known as voir dire. The

purpose of voir dire is to determine whether you can be a fair

and impartial juror on this case. Near or at the end of the

process, each party can use a certain amount of what are called

peremptory    challenges,    which   excuse   a   potential   juror    from

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sitting as a juror on this case.              A potential juror can also be

excused for other reasons.

             1.     Ms. Furstenau, please administer the oath to the

panel.

             2.     Counsel, the Jury Administrator randomly selected

potential jurors and placed their names on the sheet that has

been given to each party in the numerical sequence in which they

were randomly selected. Each juror has been placed in his or her

randomly-selected      seat.   The    Courtroom     Deputy       has   given   each

juror a large laminated card on which the number is placed,

which    reflects    the   order     in   which    the     juror    was   randomly

selected.

             3.     I will ask a series of questions to the jurors as

a group. If you have a response, please raise the number you’ve

been    given.    Generally,   you    will    be   given    an     opportunity   to

respond in accordance with the numerical order in which you are

seated, with the juror in the lowest numbered seat responding

first. If no number is raised, I will simply state “no response”

for the record and then ask the next question. If you know it is

your turn to respond to a question, you may respond before I

call your name or your seat number, by stating your last name or

just your seat number, then your response. That should expedite

the process.



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               4.      If you conclude any question unduly pries into

your private affairs and you, therefore, wish to discuss it

privately,       let       me    know.    While     I’m    authorized         under       law    to

protect    your        legitimate         privacy        interest,       I   may     ask     some

questions about the matter you indicate you want to discuss

privately to determine whether it, or any aspect of the matter,

should    be     discussed         in    open     court.    This     approach        is    taken

because the trial should be open unless I have a legitimate

reason to close an aspect of it.

               5.      It is estimated that it will take _____ court

days for the parties to present evidence and closing arguments

to you, after which you will retire to deliberate. Trial will be

conducted on Tuesdays, Wednesdays, and Thursdays, from 9:00 a.m.

to   about          4:30        p.m.     However,        once      you       commence        jury

deliberations,         you       will    be   expected      to    deliberate       every        day

except weekends from 9:00 a.m. to about 4:30 p.m. until you

complete       your     deliberations.            Does     this     schedule       present        a

special problem to any member of the jury panel?

               6.      This is a criminal case brought by the United

States     against         the    defendants,        Buena        Marshall     and     Deborah

Loudermilk. The indictment charges defendant Marshall with four

counts.    The      indictment          charges     defendant      Loudermilk         with      two

counts. The defendants are charged with mail fraud in each of

their respective counts. The indictment is a description of the

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charges against the defendants; it is not evidence.

          The defendants have pleaded not guilty to the charges

and are presumed innocent unless and until proven guilty beyond

a reasonable doubt.

          7.    Raise your number if there is any reason why you

could not be a fair juror in this case.

          8.    Raise your number if there is any reason why you

will not be able to give your full attention to this case.

          9.    Raise your number if you will not be able to

decide this case based solely on the evidence presented at the

trial or if you are opposed to judging a witness’s credibility.

          10.     Raise your number if you will not apply the law I

will give you if you believe a different law should apply.

          11.   The attorneys for the parties in this action may

introduce themselves; the government’s attorneys shall read the

names of all witnesses it intends to call.

          Defense counsel may introduce their clients.

          Raise    your   number   if   you   know   or   have   had   any

interaction with any person just introduced or named.

          12.   Raise your number if you have ever served as a

juror in the past.

                State whether it was a civil or criminal case,

and state whether the jury reached a verdict, but do not state

the actual verdict reached.

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            13.    Raise   your    number    if   you,    any    member    of   your

family, or any close friend has ever been employed by a law

enforcement agency, including military law enforcement?

                   Is   there     anything   about       the    experience      which

might cause you to favor or disfavor either party in this case

or make it difficult for you to be a juror in this case?

            14.    Raise your number if you would tend to believe

the testimony of a witness just because that witness is a law

enforcement officer and for no other reason?

            15.    On the other hand, raise your number if you would

tend not to believe testimony of a witness just because that

witness is a law enforcement officer?

            16.     Raise your number if you, any member of your

family, or any close friend has ever been arrested or charged

for a crime or been a defendant in a criminal case?

                   Could what you just communicated have a bearing

on your ability to be an impartial juror in this case?

            17.    Raise your number if you have any difficulty with

the rule of law that a person charged with a crime is presumed

innocent and need not present any evidence, and the government

at   all   times   bears    the    burden    of   proving       guilt     beyond   a

reasonable doubt?

            18.    Raise your number if you have any problem with

the rule of law that the defendant need not testify on her own

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behalf, and that if the defendant chooses not to testify, that

factor may not be considered by you in your deliberations?

          19.   Raise your number if you have had any experience

or are aware of anything that could have a bearing on your

ability to be a fair and impartial juror in this case.

          20.   Now, I am going to ask you to put yourselves in

the position of each lawyer and party in this case. Raise your

number if you have information that you think should be shared

before each side is given an opportunity to exercise what are

called peremptory challenges.

          21.   The Courtroom Deputy Clerk will give juror number

one a sheet on which there are questions that I want each of you

to answer. Please pass the sheet to the juror next to you after

you answer the questions. The sheet asks you to state:

                Your name and your educational background and the

educational background of any person residing with you; and

                Your   present   and    former   occupations    and    the

present and former occupations of any person residing with you.




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                    UNITED STATES DISTRICT COURT

                  EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA,           No. 2:11-cr-00458-GEB
             Plaintiff,

     v.                             PRELIMINARY JURY INSTRUCTIONS

BUENA MARSHALL, and DEBORAH
LOUDERMILK,


             Defendants.
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                    PRELIMINARY INSTRUCTION NUMBER 1



            Ladies and Gentlemen: You now are the jury in this

case, and I want to take a few minutes to tell you something

about your duties as jurors and to give you some preliminary

instructions. At the end of the trial I will give you more

detailed instructions that will control your deliberations.

            When you deliberate, it will be your duty to weigh and

to evaluate all the evidence received in the case and, in that

process, to decide the facts. To the facts as you find them, you

will apply the law as I give it to you, whether you agree with

the law or not. You must decide the case solely on the evidence

and   the   law   before   you   and   must   not   be   influenced   by   any

personal likes or dislikes, opinions, prejudices, or sympathy.

Please do not take anything I may say or do during the trial as

indicating what I think of the evidence or what your verdict

should be—that is entirely up to you.




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                      PRELIMINARY INSTRUCTION NUMBER 2



             I am now going to give you jury admonitions that you

must remember. When we take recesses, I may reference these

admonitions      by   telling    you    to     remember    the   admonitions   or

something similar to that. You are required to follow these

admonitions whether or not I remind you to remember them:

             First, keep an open mind throughout the trial, and do

not decide what the verdict should be until you and your fellow

jurors have completed your deliberations at the end of the case.

             Second, because you must decide this case based only

on the evidence received in the case and on my instructions as

to the law that applies, you must not be exposed to any other

information about the case or to the issues it involves during

the course of your jury duty.             Thus, until the end of the case

or unless I tell you otherwise:

             Do not communicate with anyone in any way and do not

let anyone else communicate with you in any way about the merits

of the case or anything to do with it. This includes discussing

the case in person, in writing, by phone or electronic means,

via e-mail, Facebook, text messaging, or any Internet chat room,

blog,     website,     App,     or     other    feature.     This   applies    to

communicating with your fellow jurors until I give you the case

for deliberation, and it applies to communicating with everyone

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else    including     your    family     members,   your   employer,       and    the

people     involved   in     the    trial,    although   you   may   notify      your

family and your employer that you have been seated as a juror in

the case. But, if you are asked or approached in any way about

your jury service or anything about this case, you must respond

that you have been ordered not to discuss the matter and to

report the contact to the court.

             Because you will receive all the evidence and legal

instruction you properly may consider to return a verdict: do

not read, watch, or listen to any news or media accounts or

commentary about the case or anything to do with it; do not do

any    research,    such     as    consulting   dictionaries,    searching        the

Internet, or using other reference materials; and do not make

any investigation or in any other way try to learn about the

case on your own.

             Third, if you need to communicate with me, simply give

a signed note to my courtroom clerk, or to the court reporter if

my courtroom clerk is not present, who will give it to me.

             The    law    requires     these    admonitions    to   ensure       the

parties have a fair trial based on the same evidence that each

party has had an opportunity to address. A juror who violates

these      restrictions           jeopardizes    the     fairness     of      these

proceedings. If any juror is exposed to any outside information,

please notify the court immediately.

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                     PRELIMINARY INSTRUCTION NUMBER 3



            This is a criminal case brought by the United States

government.    The     government    charges    the   defendants,       Buena

Marshall and Deborah Loudermilk, with multiple counts of mail

fraud.

            The charges against the defendants are contained in

the indictment. The indictment simply describes the charges the

government brings against the defendants. The indictment is not

evidence and does not prove anything.

            The defendants have pleaded not guilty to the charges

and are presumed innocent unless and until the government proves

the defendants guilty beyond a reasonable doubt.

            In addition, each defendant has the right to remain

silent   and   never   has   to   prove   innocence   or   to   present   any

evidence.




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                  PRELIMINARY INSTRUCTION NUMBER 4



          The evidence you are to consider in deciding what the

facts are consists of:

          the sworn testimony of any witness;

          the exhibits that are received into evidence; and

          any facts to which the parties agree.




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                    PRELIMINARY INSTRUCTION NUMBER 5



           The following things are not evidence and you may not

consider them in deciding what the facts are:

           First,      questions,        statements,    objections,         and

arguments by the lawyers are not evidence. The lawyers are not

witnesses. Although you must consider a lawyer’s questions to

understand the answers of a witness, the lawyer’s questions are

not evidence. Similarly, what the lawyers will say in their

opening statements, closing arguments, and at other times is

intended   to   help   you   interpret    the   evidence,   but   it   is   not

evidence. If the facts as you remember them differ from the way

the lawyers state them, your memory of them controls.

           Second, testimony that I exclude, strike, or instruct

you to disregard is not evidence.

           Third, anything you may see or hear when the court is

not in session is not evidence. You are to decide the case

solely on the evidence received at the trial.




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                  PRELIMINARY INSTRUCTION NUMBER 6




          Evidence    may    be   direct     or   circumstantial.   Direct

evidence is direct proof of a fact, such as testimony by a

witness about what that witness personally saw or heard or did.

Circumstantial evidence is indirect evidence, that is, it is

proof of one or more facts from which one can find another fact.

          You   are   to   consider   both   direct   and   circumstantial

evidence. Either can be used to prove any fact. The law makes no

distinction between the weight to be given to either direct or

circumstantial evidence. It is for you to decide how much weight

to give to any evidence.




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                     PRELIMINARY INSTRUCTION NUMBER 7



             Although the defendants are being tried together, you

must give separate consideration to each defendant. In doing so,

you must determine which evidence in the case applies to each

defendant, disregarding any evidence admitted solely against the

other     defendant.    The   fact   that   you   may   find   one   of    the

defendants guilty or not guilty should not control your verdict

as to the other defendant.




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                     PRELIMINARY INSTRUCTION NUMBER 8



            During    deliberations,       you       will    have   to   make    your

decision based on what you recall of the evidence. You will not

have   a   transcript    of   the   trial.       I    urge    you   to   pay    close

attention to the testimony as it is given.

            If at any time during the trial you cannot hear what

is said or see what is shown, let me know so that I can correct

the problem.




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                    PRELIMINARY INSTRUCTION NUMBER 9



           If you wish, you may take notes to help you remember

the evidence. If you do take notes, please keep them to yourself

until you and your fellow jurors go to the jury room to decide

the case. Do not let note-taking distract you. When you leave,

your notes should be left on the seat on which you are seated.

           Whether or not you take notes, you should rely on your

own   memory   of   the   evidence.   Notes   are   only   to   assist   your

memory. You should not be overly influenced by your notes or

those of your fellow jurors.




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                      PRELIMINARY INSTRUCTION NUMBER 10



             From time to time during the trial, it may become

necessary for me to talk with the attorneys out of the hearing

of the jury, either by having a conference at the bench when the

jury   is   present     in   the   courtroom,   or   by    calling     a   recess.

Please understand that while you are waiting, we are working.

The    purpose   of    these   conferences      is   not   to   keep       relevant

information from you, but to decide how certain evidence is to

be treated under the rules of evidence and to avoid confusion

and error.

             We will, of course, do what we can to keep the number

and length of these conferences to a minimum. I may not always

grant an attorney’s request for a conference.




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                   PRELIMINARY INSTRUCTION NUMBER 11



           The next phase of the trial will now begin. First,

each party may make an opening statement. An opening statement

is not evidence. It is simply an outline to help you understand

what that party expects the evidence will show. A party is not

required to make an opening statement.

           The government will then present evidence, and counsel

for the defendants may cross-examine. Then, if the defendants

choose to offer evidence, counsel for the government may cross-

examine.

           After the evidence has been presented, I will instruct

you on the law that applies to the case, and the attorneys will

make closing arguments.

           After that, you will go to the jury room to deliberate

on your verdict.




                                   12
